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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

 FEDERAL DEPOSIT INSURANCE
 CORPORATION, as Receiver for
 DORAL BANK
 Plaintiff                        CIVIL 15-2124CCC
 vs
 CARLOS JOSE IRIZARRY CEDEÑO,
 a/k/a CARLOS J. IRIZARRY CEDEÑO,
 his wife MABEL CRUZ FIGUEROA,
 a/k/a MABAL CRUZ FIGUEROA, and
 their legal conjugal partnership
 Defendants


                           OPINION AND ORDER

      Before the Court is plaintiff Federal Deposit Insurance Corporation as
Receiver of Doral Bank’s (“FDIC-R”) Motion to Dismiss Defendants'
Counterclaim for Lack of Subject Matter Jurisdiction (d.e. 6) filed on
December 12, 2016, which remains unopposed to date. In addition to seeking
dismissal of defendants’ counterclaim, FDIC-R moves for voluntary dismissal
of the foreclosure and collection of monies action without prejudice for the new
note holder of defendants’ loan to reopen this action in state court. For the
reasons explained below, FDIC-R’s Motion to Dismiss defendants’
counterclaim and voluntary dismissal of the foreclosure action are GRANTED.
I.    FACTUAL BACKGROUND
      On August 10, 2010, prior to FDIC-R’s appointment as receiver of Doral
Bank, Doral commenced a collection of monies and foreclosure action against
defendants Carlos J. Irizarry Cedeo, Mabel Cruz Figueroa and the conjugal
partnership constituted between them in the Commonwealth of Puerto Rico
Court of First Instance, Ponce Part.       (d.e. 10-1, pp. 1-9, State Court
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Complaint). Defendants filed an answer to the complaint and a counterclaim
in said court on October 10, 2010, alleging that they did not owe the amount
claimed and that the Doral had asserted the same claim in a previous case
against them (Civil Case No. JDC2005-0959), which ended by means of
stipulation. (d.e. 10-1, pp. 11-12, Answer to the Complaint).
        On February 27, 2015, FDIC-R was appointed receiver of Doral Bank.1
In May 15, 2015, FDIC-R filed a Motion for Substitution of Party and to Stay
Proceedings in the Commonwealth action. (d.e. 10-12, Motion for Substitution
of Party and to Stay Proceedings). On August 8, 2015, FDIC-R removed the
case to this Court pursuant to 12 U.S.C. § 1819(b)(2)(B) and 28 U.S.C.
§ 1442(a)(1) (d.e. 1) and requested a stay of the proceedings “until such a
time, if any, when the administrative requirements under FIRREA re timely
exhausted by the claimants and the Court acquires subject matter jurisdiction
over the claim.” (d.e. 4). The Court granted FDIC-R’s motion and stayed the
case until November 3, 2015 or for sixty (60) days after the disallowance of
claims, whichever date comes first. (d.e. 4). On February 5, 2016, FDIC-R
mailed defendants a Notice of Disallowance of Claims to the wrong address
(d.e. 6-1). The stay was subsequently lifted on December 7, 2016. (d.e. 5).
 FDIC-R then moved to dismiss defendants’ counterclaim on December 12,
2016 for lack of subject matter jurisdiction given defendants’ failure to continue




       1
         Doral Bank was closed by the Office of the Commissioner of Financial Institutions of the
Commonwealth of Puerto Rico on the same date. By operation of federal law, FDIC-R, as receiver,
succeeded to all of Doral’s rights, titles, powers, privileges, assets, and liabilities, including Doral’s
interests and status as a party in this pending action. See 12 U.S.C. §§ 1821(d)(2)(A)
and 1821(d)(2)(B).
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to prosecute their claim in federal court within sixty (60) days from the date
FDIC-R disallowed it. (d.e. 6).
II.    DISCUSSION
       FDIC-R argues that the Court lacks jurisdiction to hear defendants’
counterclaim because they failed to comply with the administrative claims
procedure under Section 1821(d) of the Financial Institution Reform, Recovery,
and Enforcement Act of 1989 (“FIRREA”), 12 U.S.C. § 1811 et seq.
       FIRREA establishes that when FDIC-R is acting as a conservator or
receiver, it succeeds to “all the rights, titles, powers, and privileges . . . and the
assets of the insured depository institution.” 12 U.S.C. § 1821(d)(2)(A)(i).
There is a mandatory administrative claims review process (“ACRP”) under
FIRREA, which must be exhausted by every claimant seeking payment from
the assets of the affected institution. 12 U.S.C. § 1821(d)(13)(D).
       Subsection 1821(d)(5)(A)(i) instructs FDIC-R to “notify the claimant of
any determination with respect to such claim.” Subsection 1821(d)(5)(A)(iii) in
turn determines when mailing of FDIC-R’s notice is sufficient. It states that
“[t]he requirements of clause (i) shall be deemed to be satisfied if the notice of
any determination with respect to any claim is mailed to the last address of the
claimant which appears-- (I) on the depository institution's books; (II) in the
claim filed by the claimant; or (III) in documents submitted in proof of the
claim.” Id. “[N]otification is complete when the FDIC-R mails the notice to one
of three addresses enumerated in the statute. That is, the FDIC-R satisfies its
notice obligation to the claimant by mailing the notice of disallowance to one
of the addresses specified in subsection (d)(5)(A)(i).”          Miller v. F.D.I.C.,
738 F.3d 836, 842 (7th Cir. 2013).
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      The record reflects that FDIC may have mailed defendants the Notice of
Disallowance of Claim to the wrong address. FDIC-R mailed the notice to
P.O. Box 561114, Guayanilla, PR 00656-3114, adding a one (1), instead of the
correct P.O. Box number of 56114. Compare address in docket entry 6-1 with
the address in the Complaint at docket entry 10-1, page 1. Furthermore, the
Certified Mail number written in the Notice of Disallowance of Claim sent to an
erroneous address differs from the one related to the Certified Mail Receipt
provided. Compare number starting with 7012 in docket entry 6-1, page 1, with
the number starting with 7014 in docket entry 6-1, page 3. It is possible the
defendants never received notice that their claim was disallowed.
      However, “[s]ection 1821(d)(6)(A) places an affirmative obligation on
claimants to file suit at the end of the 180-day determination period, even in the
absence of a notice of disallowance. Neither the receiver's failure to mail
notice of its claim determination nor the claimant's failure to receive notification
toll the statute of limitations.”            Capitol Leasing Co. v. F.D.I.C.,
999 F.2d 188, 993 (7th Cir. 1993) (referring to Meliezer v. Resolution Trust
Corp., 952 F.2d 879, 882 (5th Cir. 1992)).
      “When the FDIC-R disallows a claim, or fails to respond to the claimant
within the 180-day determination period, the claimant must:            (1) request
administrative review, (2) file a new action in the appropriate federal court, or
(3) “continue” an action that started prior to the appointment of the FDIC-R as
receiver. 12 U.S.C. § 1821(d)(6)(A).” F.D.I.C. v. Beneficial Mortg. Corp.,
858 F. Supp. 2d 196, 199-200 (D.P.R. 2012). In the Notice of Disallowance of
Claim (d.e. 6-1) sent to defendants, FDIC-R states that it would not agree to
a request for of an administrative review of its disallowance. But defendants
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had already filed a cross-claim by the time FDIC-R removed the case to this
Court. Defendants therefore needed to “continue” the action they started
before FDIC-R was appointed as receiver.
      “To ‘continue’ an action requires some affirmative act by the claimant.”
Reyes v. F.D.I.C., No. CIV. 10-1660 JP, 2011 WL 2604762, at *3
(D.P.R. June 30, 2011). “[T]the claimant must take any affirmative action in
furtherance of his or her claim in court, such as by filing a motion to renew or
reactivate his or her case. The claimant must take action within the earlier of
(a) 60 days after the FDIC-R disallows the claim within the 180-day
determination period allowed to the FDIC-R, or (b) 60 days after the expiration
of the 180-day period. See 12 U.S.C. § 1821(d)(5)(A). The statute further
provides that if the claimant fails to affirmatively act within 60 days of the earlier
date, whichever it may be, the disallowance is ‘final, and the claimant shall
have no further rights or remedies with respect to such claim.’                    Id.
§ 1821(d)(6)(B).” Caban-Casillas v. Rivera-Rivera, No. CV 15-1651 (JAG),
2017 WL 3016777, at *3 (D.P.R. July 14, 2017). “Failure to comply with these
requirement deprives courts of jurisdiction.” Reyes, No. CIV. 10-1660 JP,
2011 WL 2604762, at *3 (D.P.R. June 30, 2011) (referring to 12 U.S.C.
§ 1821(d)(13)(D)).
      Defendants failed to take any affirmative act to “continue” their claim
against FDIC-R within the time period allotted under FIRREA; they did not file
any motion. To date, they have not even made an appearance before this
Court even after FDIC-R mailed a copy of its motion to dismiss to their attorney
of record in the state court proceeding, César E.Rodríguez Rodríguez, at his
mailing address of 22A Pasarell Street, Yauco, PR 00698.                 They have
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therefore failed to comply with FIRREA’s administrative requirements. As a
result, we lack subject matter jurisdiction over their claim.
III.    CONCLUSION
        For the reasons stated herein, FDIC-R’s Motion to Dismiss Counterclaim
for Lack of Subject Matter Jurisdiction (d.e. 6) is GRANTED and its voluntary
dismissal of the foreclosure action is also GRANTED. Judgment will be
entered accordingly.
        SO ORDERED.
        At San Juan, Puerto Rico, on August 21, 2018.



                                            S/CARMEN CONSUELO CEREZO
                                            United States District Judge
